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 8                              IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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12   UNITED STATES OF AMERICA,

13                 Plaintiff,                          CR. S-05-0034 LKK

14          vs.                                        ORDER FOR RELEASE OF PERSON IN
                                                       CUSTODY
15   ROBERT ROBINSON,
16                 Defendant.
                                              /
17
     TO:    UNITED STATES MARSHAL:
18

19          This is to authorize and direct you to release ROBERT ROBISON on WEDNESDAY,

20   MARCH 14, 2012, Case No. CR. S-05-0034 LKK, Charge 18 U.S.C. 3606, from custody for the

21   following reasons:

22                 Release on Personal Recognizance

23                 Bail Posted in the Sum of $ [ ]

24                         Unsecured Appearance Bond

25                         Appearance Bond with 10% Deposit
26
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 1                               Appearance Bond with Surety

 2                               Corporate Surety Bail Bond

 3                        X      (Other) [The defendant is ordered to continue on Supervised Release as
 4                               previously ordered on September 28, 2010, with the following modification
 5
                                 of conditions: Defendant shall reside and participate in a Residential
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                                 Reentry Center (RRC), for a period of 180 days; said placement shall
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                                 commence as directed by the probation officer pursuant to 18 USC
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                                 3563(b)(11). The offender shall be released from custody to the probation
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                                 officer on Wednesday, March 14, 2012.        The probation officer will
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                                 transport the offender to the RRC. A Judgment and Commitment Order to
11
                                 issue.]
12
     Issued at Sacramento, CA on March 6, 2012, at 9:25 a.m.
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14   Dated: March 6, 2012
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16                                                            LAWRENCE K. KARLTON
                                                              SENIOR JUDGE
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                                                              UNITED STATES DISTRICT JUDGE
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26   ROBINSON, ROBERT Order release TSR violation.wpd    2
